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                                     UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                      Case No. 16-20897-CR-PAS

  UNTIED STATES OF AMERICA,

          Plaintiff,
  vs.

  PRINCESS CRUISE LINES, LTD.,

        Defendant.
  __________________________/

                         ORDER ON JULY 28, 2021 STATUS CONFERENCE

          THIS MATTER came before the Court for a quarterly Status Conference on April 30,

  2021, held via virtual means due to the ongoing COVID-19 pandemic. At that hearing, the

  Defendant, its parent corporation, and related corporate entities (collectively, the “Company”)

  discussed the status of its compliance efforts in several critical areas. Based on that discussion

  and on further consideration, this Order specifies the Court’s expectations for the next Status

  Conference, which is scheduled for July 28, 2021, and will be held by videoconference.

          There is a double urgency to the upcoming Status Conference. First, the Court takes

  judicial notice that the Company has publicly announced intentions to resume commercial

  cruises in United States waters on a limited number of Covered Vessels in July 2021. 1 Second,

  there is now less than one year remaining in the Company’s probation. As expressed in the

  Court’s Order of January 29, 2021 [DE 217], in view of this limited time, the Court desires that

  the upcoming and all future Status Conferences address the issue of Company capabilities for




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   See, e.g., Carnival Cruise Line Confirms Plans For July Restart (June 7, 2021),
  https://www.carnivalcorp.com/news-releases/news-release-details/carnival-cruise-line-confirms-plans-july-restart;
  Three Carnival Corporation Cruise Line Brands Plan to Resume Cruising in U.S. with Alaska Sailings in July (May
  20, 2021), https://www.carnivalcorp.com/news-releases/news-release-details/three-carnival-corporation-cruise-line-
  brands-plan-resume.
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  continuous improvement to support a sustainable compliance program and reduce its risk of

  recidivism after the term of probation ends. See, e.g., ECP § VI.F.5. Emerging from the

  pandemic presents an opportunity for the Company to affirm and prioritize its commitment to

  supporting the ships and the Company’s compliance efforts. This includes the Company’s

  efforts to address the broader culture and leadership issues identified in CAM reports and the

  Environmental Compliance Culture Assessment—including the extent to which top leaders are

  taking responsibility for, and taking concrete actions to support compliance and the development

  of an enhanced culture of compliance.

         The Court has also been informed that the CAM and TPA are working with the Company

  on the resumption of in-person visits and audits. To assist in this return to in-person visits and

  audits, the CAM and TPA have jointly requested that the Court grant them discretion to schedule

  some or all in-person visits and audits as “announced,” with advanced notice to the Company, in

  lieu of the “unannounced” visits and audits previously ordered by the Court. [See DE 75, 81].

         Accordingly, it is hereby ORDERED:

             1) At the July 28, 2021, Status Conference, the Court shall be informed of the status

                 of Company compliance efforts in the following areas:


                     a. Continuous Improvement, including efforts to enhance coordination,
                        support, and accountability between and among the operations, internal
                        investigation, internal audit, legal, risk assessment and management,
                        training, and broader ethics & compliance functions;

                     b. Diversity, Equity, and Inclusion, including plans to increase diversity
                        and enhance equity and inclusion, particularly among shipboard deck and
                        technical officers, internal investigators, and shoreside senior managers
                        and leaders;

                     c. Fleet Readiness for Return to Service, including a report from the Third
                        Party Auditor on its ongoing review of the Company’s monthly Planned
                        Maintenance System submissions pursuant to the Court’s Order of
                        February 22, 2021 [DE 218];

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                    d. Internal Investigations, including Incident Analysis Group independence
                       and authority; investigations of identified potential systemic issues; status
                       of the internal investigation improvement plan; and efforts to enhance
                       diversity, equity, and inclusion within the investigator corps;

                    e. Risk Assessment and Risk Management, including efforts to establish a
                       holistic, corporate-wide risk governance framework;

                    f. Environmentally-conscious Ship Design, including new build and dry
                       dock scoping and execution processes and the integration of
                       environmental compliance considerations and lessons learned into ship
                       design.

                              i.   The Court directs that the Court Appointed Monitor review
                                   documents and information regarding the scope of work
                                   undertaken during at least one major drydock that occurred during
                                   the probationary period.

                          ii.      The Court further directs that the Court Appointed Monitor review
                                   documents and information regarding a select set of newbuilds
                                   designed and/or constructed during the probationary period.

                    g. Training, including efforts to establish a holistic, corporate-wide training
                       governance framework.

             2) The CAM and TPA shall have discretion to schedule in-person visits and audits as

                 “unannounced” or “announced.”

     DONE AND ORDERED in Miami, Florida, this 8th day of June, 2021.



                                                 ___________________________________
                                                 PATRICIA A. SEITZ
                                                 UNITED STATES DISTRICT JUDGE

  cc: All counsel of record




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